      CASE 0:04-cr-00457-MJD-JGL   Doc. 63   Filed 05/31/05     Page 1 of 1



                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                      Criminal No. 04-457 (MJD/JGL)


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   ) ORDER
                                )
           v.                   )
                                )
                                )
DEMPSEY ANTONIO BROWN,          )
                                )
           AND                  )
                                )
BRANDON GULLEDGE                )
 a/k/a Marcus Dwayne            )
          Edwards               )
                                )
                   Defendant.   )



      Having reviewed and considered the United States’ Motion to file

its   Opposition    to   defendants’   objections    to       the   Report    and

Recommendation out of time, and based upon all the records and files

herein,

      IT IS HEREBY ORDERED that the United States’ Motion is GRANTED;

AND

      that the United States will be permitted to file its Opposition

on May 24, 2005.



Dated:May 31, 2005                  s/ Michael J. Davis
                                    JUDGE MICHAEL J. DAVIS
                                    United States District Court
